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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 WILLIAM CADE, et al.,

                        Plaintiffs,

                        v.                             Case No. 1:23-cv-00650 (TNM)

 ENVIRONMENTAL PROTECTION
 AGENCY, et al.,

                        Defendants.


                                             ORDER

       Plaintiffs William Cade and the National Farmers Union filed a Complaint on March 6,

2023. Within 90 days of filing a complaint, plaintiffs must properly serve defendants or “the

court—on motion or on its own after notice to the plaintiff—must dismiss the action.” Fed. R.

Civ. P. 4(m). So Plaintiffs were required to serve Defendants on or before June 4, 2023. The

Court informed Plaintiffs about this obligation under Rule 4(m) and directed them to file proof of

proper service. See Min. Order, May 11, 2023.

       Plaintiffs have not complied with the Court’s order. There is no proof of proper service

on the docket for either Defendant. Plaintiffs filed a return of service showing that they sent a

copy of the summons and Complaint to named Defendant Michael Regan, who is sued in his

official capacity as administrator of the EPA. See ECF No. 4. But Plaintiffs have failed to file

proof of service on the United States in the manner required by Federal Rule of Civil Procedure

4(i)(2). Nor have Plaintiffs filed proof of service of Defendant EPA. So neither Defendant has

been properly served within the time allowed by Rule 4(m). The Court will thus dismiss the

Complaint without prejudice. See Morrissey v. Mayorkas, 17 F.4th 1150, 1158 (D.C. Cir. 2021)

(district court permissibly dismissed a complaint under Rule 4(m) when plaintiff “made no
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attempt to demonstrate good cause . . . before the deadline for service had passed”). For these

reasons, it is hereby

       ORDERED that this matter is dismissed without prejudice under Federal Rule of Civil

Procedure 4(m).

       SO ORDERED.
                                                                               2023.06.21
                                                                               15:20:48 -04'00'
Dated: June 21, 2023                                 TREVOR N. McFADDEN, U.S.D.J.




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